         CASE 0:22-cr-00178-SRN-DTS Doc. 23 Filed 09/19/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                        Case No. 22-cr-178 (SRN/DTS)

       Plaintiff,

v.                                               ORDER

Deveon Marquise Branch (1),

      Defendant.


       This matter comes before the Court on Defendant’s Motion for Extension of Time

to File Pretrial Motions (Dkt. No. 22). Defendant requests a 14-day continuance of the

pretrial motions deadline and hearing based on amount of disclosures by the Government

and the need for additional time to prepare his defense.

       Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting such a continuance outweigh the best interests of the public and Defendant in a

speedy trial and such continuance is necessary to provide Defendant and his attorney

reasonable time necessary for effective preparation and to make efficient use of the

parties’ resources. Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED:

       1.      A Statement of Facts signed by Defendant must accompany any future

request for continuance.

       2.      Defendant’s Motion for Extension of Time to File Pretrial Motions (Dkt.

No. 22) is GRANTED. All motions in this case shall be filed by September 27, 2022.

       3.      Counsel must file a letter on or before September 27, 2022 if no motions

will be filed and there is no need for a motions hearing.
        CASE 0:22-cr-00178-SRN-DTS Doc. 23 Filed 09/19/22 Page 2 of 2




      4.     Responses to the motions must be filed by October 11, 2022.

      5.     Any Notice of Intent to Call Witnesses must be filed by October 11,

2022 . D. Minn. LR 12.1(c)(3)(A).

      6.     Any Responsive Notice of Intent to Call Witnesses must be filed by

October 14, 202 . D. Minn. LR 12.1(c)(3)(B).

      7.     The motions shall be heard before Magistrate Judge David T. Schultz on

October 28, 2022, at 11:00 a.m., in Courtroom 9E, U.S. Courthouse, 300 South Fourth

Street, Minneapolis.

      8.     The period of time from September 13, 2022 through September 27,

2022, shall be excluded from Speedy Trial Act computations for Defendant.

      9.     Counsel must contact the Courtroom Deputy for District Judge Susan

Richard Nelson to confirm the new trial date.


Dated: September 19, 2022                       __s/David T. Schultz_____
                                                DAVID T. SCHULTZ
                                                United States Magistrate Judge
